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     %                                                                                                                         Predece
     Complete Task Name                                                                       Duration   Start      Finish     ssors
 1        24%   HoneyBaked Ham: State Selector Modal                                          90d        10/07/19   02/21/20

 2       100%      Discovery                                                                  30d        10/07/19   11/15/19
 3       100%        DA: Create Recommendation Deck                                           2d         10/07/19   10/08/19
 4       100%        DA: Internal Review & Revisions                                          1d         10/09/19   10/09/19   3
 5       100%        DA + HBH: Review Recommendation Deck & Provide Feedback                  1d         10/10/19   10/10/19   4
 6       100%        DA: Revise Recommendations & Scope                                       1d         10/11/19   10/11/19   5
 7       100%        DA: Finalize Implementation Plan, Scope, Timeline & Test Plan overview   2d         10/14/19   10/15/19   6
 8       100%        DA + HBH: Share Scope, Timeline & Test Plan                              1d         10/16/19   10/16/19   7
 9       100%        HBH: Approve Scope & Timeline                                            22d        10/17/19   11/15/19   8
10        18%      Functional Requirements and Test Cases                                     17d        11/18/19   12/12/19
11       100%        DA: Draft Functional Requirements                                        2d         11/18/19   11/19/19   9
12       100%        DA: Internal Review & Revisions                                          1d         11/20/19   11/20/19   11
13         0%        DA + HBH: Review Functional Requirements                                 1d         11/21/19   11/21/19   12
14                   HBH: Provide Feedback                                                    3d         11/22/19   11/26/19   13
15                   DA: Revise Requirements                                                  2d         11/27/19   12/02/19   14
16                   HBH: Final Review & Approval of Requirements                             1d         12/03/19   12/03/19   15
17                   DA: Revise Test Cases                                                    2d         12/04/19   12/05/19   16
18                   DA: Share revised Test Cases with HBH                                    1d         12/06/19   12/06/19   17
19                   HBH: Provide Feedback                                                    1d         12/09/19   12/09/19   18
20                   DA: Revise Test Cases                                                    1d         12/10/19   12/10/19   19
21                   DA: Share final Test Cases with HBH for Approval                         1d         12/11/19   12/11/19   20
22                   HBH: Final Review & Approval of Test Cases                               1d         12/12/19   12/12/19   21
23                 User Experience & Strategy                                                 10d        12/04/19   12/17/19
24                   DA: Annotate Wireframes & Create Flow Diagrams                           3d         12/04/19   12/06/19   16
25                   DA + HBH: Review Wireframe Annotations & Flow Diagrams                   1d         12/09/19   12/09/19   24
26                   HBH: Provide Feedback                                                    3d         12/10/19   12/12/19   25
27                   DA: Revise Annotations & Flow Diagrams                                   2d         12/13/19   12/16/19   26
28                   HBH: Final Review & Approval                                             1d         12/17/19   12/17/19   27
29                 Analytics & SEO                                                            40d        12/18/19   02/21/20
30                   DA: Update Tagging Plan                                                  4d         12/18/19   01/02/20   28
31                   DA: Share revised Tagging Plan with HBH                                  1d         01/03/20   01/03/20   30
32                   HBH: Provide Feedback                                                    1d         01/06/20   01/06/20   31
33                   DA: Implement Tags in Google Analytics & QA tags                         2d         01/07/20   01/08/20   32
34                   QA tags are firing in Production                                         0.5d       02/21/20   02/21/20   40
35                 Development & QA                                                           39.5d      12/18/19   02/21/20
36                   Create JIRA Tickets                                                      2d         12/18/19   12/19/19   28
37                   Development and QA                                                       16d        12/18/19   01/20/20   28

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                                                                                                                                    EXHIBIT 1
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     %                                                                                                    Predece
     Complete Task Name                                                  Duration   Start      Finish     ssors
38                  Regression Testing & Bug Fixing                      8d         01/21/20   01/30/20   37
39                  HBH: UAT & approval                                  15d        01/31/20   02/20/20   38
40                  Final Deployment                                     0.5d       02/21/20   02/21/20   39




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                                                                                                               EXHIBIT 1
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